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UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS

In re:
Westborough SPE LLC, Chapter 7

23-40709-CJP

Debtor

ORDER

MATTER:
#178 Motion filed by Creditor Lolonyon Akouete for Sanctions for Violation of the Automatic Stay.

UPON CONSIDERATION OF THE MOTION FOR SANCTIONS FOR VIOLATION OF THE
AUTOMATIC STAY [ECF NO. 178] (THE "MOTION") FILED BY CREDITOR LOLONYON
AKOUETE (THE "CREDITOR"), THE RESPONSE FILED BY WALTER A. HORST [ECF NO.
187], AND THE CREDITOR'S REPLY [ECF NO. 188], THE MOTION IS DENIED. AS THE
MOTION FAILS TO ALLEGE AN INJURY TO THE CREDITOR AND ONLY ALLEGES HARM
TO THE ESTATE, THE CREDITOR LACKS STANDING TO ASSERT AN ACTION FOR
DAMAGES PURSUANT TO 11 U.S.C. § 362(k). SEE IN RE 110 BEAVER ST. P'SHIP, 355 F. APP'X
432, 439 N.9 (1ST CIR. 2009). BECAUSE THE MOTION IS DENIED ON THIS BASIS, THE
COURT NEED NOT DISCUSS WHETHER A DEBTOR THAT IS AN LLC (AND NOT AN
"INDIVIDUAL" ACTING AS A NATURAL PERSON) OR THE CHAPTER 7 TRUSTEE HAVE
STANDING TO BRING A CLAIM UNDER 11 U.S.C. § 362(k). SEE 3 COLLIER ON BANKRUPTCY
4] 362.12[3] (16TH 2024) (SURVEYING CASES).

Dated: 08/02/2024 By the Court,

if f than

Christopher J. Panos
United States Bankruptcy Judge

